Case 1:18-cv-00950-PTG-JFA Document 338-2 Filed 08/30/19 Page 1 of 1 PagelD# 12252

Case 1:18-cv-00950-LO-JFA Document 246 Filed 08/15/19 Page 1 of 1 PagelD# 7141

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

SONY MUSIC ENTERTAINMENT, e¢ al.,
Plaintiffs,
v. oS
Case No. 1:18-cv-00950-LO-JFA . 3
COX COMMUNICATIONS, INC., ef al., mR
Defendants. , MG
.

ORDER
Having considered Plaintiffs’ Motion to File Electronic Copies of their Exhibits to their, g )
(pecke ran. 25S
Motion for Summary Judgment on Portable Storage Media, filed August 14, 2019. it is hereby
A
ORDERED that the motion is GRANTED. Plaintiffs are permitted to file the exhibits to their

summary judgment motion on a flash drive or hard-drive, rather than through the Court's

Electronic Court Filing system (“ECF”).

*,
Itis so ORDERED this 4S” day of August 2019.

Is/ a

John F Anderson

ving
GO

United States Magistrate Judge
